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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

v.                                           CASE NO: 3:17-cr-222-J-32PDB

DUSTIN WHITTAKER                             ORDER ON MOTION FOR
                                             SENTENCE REDUCTION UNDER
                                             18 U.S.C. § 3582(c)(1)(A)


                                     ORDER

       Upon motion of     the defendant      the Director of the Bureau of Prisons for

a reduction in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the

applicable factors provided in 18 U.S.C. § 3553(a) and the applicable policy

statements issued by the Sentencing Commission,

IT IS ORDERED that the motion is:

     DENIED after complete review of the motion on the merits.

           FACTORS CONSIDERED

       Defendant Dustin Whittaker is a 31-year-old inmate incarcerated at Coleman

Low FCI, serving an 87-month term of imprisonment for possession of 50 grams or

more of methamphetamine with intent to distribute. (Doc. 27, Judgment). According

to the Bureau of Prisons (BOP), he is scheduled to be released from prison on January

18, 2024. Defendant seeks compassionate release because of the Covid-19 pandemic

and because he claims to have hypertension, asthma, and elevated levels of two liver

enzymes.
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      A movant for compassionate release bears the burden of proving that a

reduction in sentence is warranted. United States v. Heromin, No. 8:11-cr-550-T-

33SPF, 2019 WL 2411311, at *2 (M.D. Fla. Jun. 7, 2019); cf. United States v.

Hamilton, 715 F.3d 328, 337 (11th Cir. 2013) (a movant under § 3582(c)(2) bears the

burden of proving that a sentence reduction is appropriate). As the Third Circuit

Court of Appeals has observed, the mere existence of Covid-19 cannot independently

justify compassionate release, “especially considering BOP's statutory role, and its

extensive and professional efforts to curtail the virus's spread.” United States v. Raia,

954 F.3d 594, 597 (3d Cir. 2020).

      Defendant has not demonstrated extraordinary and compelling reasons

warranting compassionate release. 18 U.S.C. § 3582(c)(1)(A); U.S.S.G. § 1B1.13 &

cmt. 1. According to the Centers for Disease Control (CDC), those who have high blood

pressure and moderate-to-severe asthma might be at increased risk for severe

infection from coronavirus, which is distinct from the medical conditions that the

CDC confirms increase the risk for serious illness. 1 The medical records reflect that

Defendant has a history of hypertension, but that the condition is controlled through

the use of blood pressure medication. (Doc. 34-1 at 10, 12). Defendant’s medical

records do not reflect that he currently has asthma. (Id. at 12). However, Defendant

self-reported having “mild asthma” during a physical examination in 2005 (id. at 17-

18), which according to the CDC is not associated with an increased risk for severe




1     https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-
medical-conditions.html.


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infection from Covid-19. Finally, Defendant’s medical records indicate that he has

elevated levels of “AST” and “ALT” (aspartate transaminase and alanine

transaminase), two liver enzymes. (Id. at 14). 2 But Defendant’s medical records do

not reflect that he has been diagnosed with any disease of the liver. The CDC does

not report that having elevated levels of AST or ALT, without more, increases the

risk of serious illness from Covid-19. Considered alongside Defendant’s young age

(31), the Court concludes that he has not demonstrated extraordinary and compelling

reasons for compassionate release. 3

      Moreover, the sentencing factors under 18 U.S.C. § 3553(a) do not support a

reduction in sentence. 18 U.S.C. § 3582(c)(1)(A); U.S.S.G. § 1B1.13. Defendant was

convicted of a serious drug trafficking offense, which involved receiving shipments

and possessing with intent to distribute over 1.5 kilograms of methamphetamine.

(Doc. 12, Plea Agreement at 21-22; Doc. 23, Presentence Investigation Report [PSR]

at ¶¶ 1-17, 22). Based on a total offense level of 33 and a Criminal History Category

of III, the Sentencing Guidelines recommended a sentence of 168 to 210 months in

prison. (Doc. 23 at ¶ 98). Defendant benefited from a significant downward variance



2      According to the Mayo Clinic, AST and ALT are liver enzymes, elevated levels
of which “often indicate inflammation or damage to cells in the liver.”
https://www.mayoclinic.org/symptoms/elevated-liver-enzymes/basics/definition/sym-
20050830.
3     The Court recognizes that there is a split of authority over whether district
courts are bound by the list of extraordinary and compelling reasons contained in
U.S.S.G. § 1B1.13, cmt. 1(A)-(C). See United States v. Brooker, — F.3d —, No. 19–
3218–CR (2d Cir. Sept. 25, 2020), Slip Op. at 12. The Court’s decision does not depend
on the resolution of that issue because it would reach the same conclusion if it had
independent authority to identify extraordinary and compelling reasons.


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when the Court imposed a sentence of 87 months in prison.

        The Court commends Defendant for making efforts while in prison to improve

himself and to stay in touch with his family. However, as of this date, Defendant has

served fewer than three years of his 87-month term of imprisonment. In view of all

the § 3553(a) factors, reducing Defendant’s sentence at this time would not be

consistent with the statutory purposes of sentencing. Accordingly, Defendant’s

Amended Motion for Compassionate Release (Doc. 34), as supplemented (Doc. 35), is

DENIED. 4

        DONE AND ORDERED at Jacksonville, Florida this 20th day of October,

2020.




                                                    TIMOTHY J. CORRIGAN
                                                    United States District Judge



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Copies:
Counsel of record
Defendant




4      To the extent Defendant requests that the Court order home confinement, the
Court cannot grant that request because the Attorney General has exclusive
jurisdiction to decide which prisoners to place in the home confinement program. See
United States v. Alvarez, No. 19-cr-20343-BLOOM, 2020 WL 2572519, at *2 (S.D.
Fla. May 21, 2020); United States v. Calderon, 801 F. App’x 730, 731-32 (11th Cir.
2020) (a district court lacks jurisdiction to grant a request for home confinement
under the Second Chance Act).


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